                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF RHODE ISLAND



IN RE TEXTRON, INC. ERISA LITIGATION

                                                           C.A. No. 09-383-ML
                                                           (Consolidated Actions)
                                                           CLASS ACTION
This Document Pertains to
ALL ACTIONS




                               MEMORANDUM AND ORDER

      This ERISA case, brought as a consolidated class action

complaint     (Dkt.    No.     28)      on   behalf      of    participants      in,     and

beneficiaries of, the Textron Savings Plan, was approved for class

action settlement on January 24, 2014 at the conclusion of a

fairness hearing in open court. (Dkt. No. 117). In addition to

certifying the class and granting final approval of the proposed

$4.375     million    settlement,        the     Court     granted     class    counsel’s

request for reimbursement of actual costs of $162,757.34 incurred

in   the   course     of    prosecuting        this   action     and    it     granted    an

incentive award of $10,000 to each of the four named plaintiffs for

their participation in this litigation.

      The Court reserved its ruling with respect to the requested

attorneys’     fees    of    30    percent       of   the     gross    settlement      fund

($1,213,500),        pending      the    receipt      of      additional     information




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concerning the lodestar1 calculation, to be provided by counsel for

the plaintiffs. Specifically, the Court inquired regarding (1)

duplication of time between counsel from different firms engaged in

the litigation, (2) hourly billing rates for attorneys in excess of

$795, and (3) billing rates for investigators and other support

staff whose role in the litigation was not described in the

plaintiffs’ submissions.

     On February 7, 2014, class counsel submitted supplemental

information that addressed the Court’s concerns. (Dkt. No. 116).

Specifically, counsel explained how it had coordinated the efforts

of different law firms to avoid duplication; it detailed the

relatively small number of attorneys with higher than Providence

billing rates; and it provided additional information regarding

charges   for   in-house   investigators   and   litigation   technology

support. Counsel’s revised lodestar calculations reflect total

attorneys’ fees of $4,122,717, a reduction by $304,531 from the

initial request. (Dkt. 116-1).

     The Court notes that it received a communication regarding the

requested expenses and attorneys’ fees from a class member. (Dkt.

No. 111). The Court has given due consideration to the comments of

that class member. The Court nevertheless finds that the request



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     See e.g. In re Thirteen Appeals Arising Out of San Juan Dupont
Plaza Hotel Fire Litig., 56 F.3d 295, 307 (1st Cir. 1995).

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for counsel fees is supported by the documented efforts expended in

this case.

     In light of the amended lodestar calculation, the history and

background of this litigation, and the uncertainty of the outcome,

had this case not settled, the Court concludes that counsel’s

request for attorneys’ fees of 30 percent of the gross settlement

fund - which is only a fraction of the calculated lodestar amount -

is fair and reasonable.

                            Conclusion

     For the reasons stated above, the request for attorneys’ fees

of 30 percent of the gross settlement fund is GRANTED.



SO ORDERED.

/s/ Mary M. Lisi

Mary M. Lisi

United States District Judge
February 12, 2014




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